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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )       No.    14 CR 732 – 1, 2, 3
                                               )       Judge Rebecca Pallmeyer
JOSEPHINE TINIMBANG, et. al.                   )

 AMENDED PROTECTIVE ORDER DIRECTING THE INTERLOCUTORY SALE OF
         CERTAIN REAL PROPERTY SUBJECT TO FORFEITURE

       This matter coming before the Court on the government’s motion for entry of an

amended protective order directing the interlocutory sale of certain real property, pursuant to the

provisions of Title 21, United States Code, Section 853(e)(1)(A), as incorporated by Title 18,

United States Code, Section 982(b)(1), and the Court being fully advised, finds as follows:

       (a)     The real property located at 7225 N. Kostner Avenue, Lincolnwood, Illinois, is

included in the forfeiture allegations of the Fourth Superseding Indictment in this matter, and has

been included in the forfeiture allegations of prior indictments.

       (b)     On August 25, 2016 this Court entered a protective order directing the

interlocutory sale of the Kostner Avenue property at the direction of the United States Marshal.

       (c)     Pursuant to 21 U.S.C. § 853(e), as incorporated by 18 U.S.C. § 982(b)(1), this

Court has jurisdiction to enter orders or to take other action to preserve and to protect property to

insure that the property or its equity will be available for forfeiture in the event of conviction.

       (d)     Pursuant to the terms of the protective order entered by the Court on August 25,

2016, the Marshals Service has seized the Kostner Avenue property and is preparing it for sale.

However, personal property, including the following vehicles, has been abandoned on the
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property:

               1.      a 2007 Acura RDX, VIN: 5J8TB18517A001340;

               2.      a 2008 Mercedes Benz S550, VIN: WDDNG86X78A184272;

               3.      a 2010 Honda Civic, VIN: 19XFA1F64AE005168; and

               4.      2007 Toyota Camry, VIN: 4T1BE46K67U627598.

       (d)     On October 27, 2016, the government filed a bill of particulars to make clear in

part that the forfeiture allegations regarding the Kostner Avenue property extended to items of

personal or abandoned property, including automobiles, that were located on the Kostner Avenue

property.

       (e)     Accordingly, in order to allow the sale of the property to move forward, it is

hereby ORDERED, ADJUDGED, AND DECREED:

       1.      The government’s motion for entry of an amended protective order pursuant to

the provisions of 21 U.S.C. § 853(e)(1)(A), as incorporated by 18 U.S.C. § 982(b)(1), is granted.

The real property commonly known as 7225 N. Kostner Avenue, Units A and B, Lincolnwood,

Illinois, and any personal or abandoned property contained therein or thereon, including

automobiles, shall be sold at the direction of the United States Marshals Service.

       2.      The net proceeds from the sale of the Kostner Avenue property and any personal

property contained therein or thereon (including automobiles), after the payment of verifiable

costs, shall be retained in the Seized Assets Deposit Fund by the United States Marshal pending

further order of this Court.

       3.      The terms of the protective order entered on August 25, 2016 relating to the sale

of the real property shall remain in effect.


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       4.      This Court shall retain jurisdiction in this matter to take additional action and

enter further orders as necessary to implement and enforce this order.



                                                     ______________________________
                                                     REBECCA PALLMEYER
                                                     United States District Judge


DATED: November 17, 2016




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